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                 1    Lynda T Bui, Trustee
                      3550 Vine Street, Ste. 210
                 2    Riverside, CA 92507
                      Telephone: (949) 340-3400
                 3    Facsimile:   (949) 340-3000
                      Email: Trustee.Bui@shbllp.com
                 4
                      Chapter 7 Trustee
                 5

                 6

                 7

                 8                            UNITED STATES BANKRUPTCY COURT
                 9                 CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
               10

               11     In re                                         )       Case No. 6:16-bk-16877-WJ
                                                                    )
               12     RUSSEL DENNIS HILES,                          )       Chapter 7
                                                                    )
               13                          Debtor.                  )       TRUSTEE’S REPORT OF SALE AND
                                                                    )       STATEMENT PURSUANT TO FEDERAL
               14                                                   )       BANKRUPTCY RULE 6004(f)
                                                                    )
               15                                                   )       [No Hearing Set]
                                                                    )
               16                                                   )
               17             TO AND ALL INTERESTED PARTIES:

               18             Lynda T. Bui, the Chapter 7 trustee herein, respectfully represents:

               19
                       Property of the Debtor sold:             66876 Gist Road , Bend OR 97703 (3 parcels)
               20
                       Name of Purchaser:                       Andrew J. Hood and Melissa T. Hood
               21
                       Price Received for the Property:         $1,995,000.00
               22
                       Date of Order Approving the Sale:        10/26/18
               23
                       Date of Closing:                         November 9, 2018
               24

               25      Dated: November 20, 2018           By:     /s/ Lynda T. Bui
                                                                Lynda T. Bui, Chapter 7 Trustee
               26

               27

               28
   Lynda T. Bui,
Chapter 7 Trustee
                                                                        1
  3550 Vine Street
     Suite 210
Riverside, CA 92507
        Case 6:16-bk-16877-WJ                     Doc 388 Filed 11/20/18 Entered 11/20/18 10:41:27                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3550 Vine Street, Suite 210, Riverside, CA 92507

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S REPORT OF SALE AND STATEMENT
PURSUANT TO FEDERAL BANKRUPTCY RULE 6004(f) will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/20/2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/20/2018 I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.
Debtor                                              Judge’s Copy
Russel Dennis Hiles                                 Hon. Wayne Johnson
155 Metate Place                                    US Bankruptcy Court
Palm Desert, CA 92260-7734                          3420 Twelfth Street, Suite 385
                                                    Riverside, CA 92501

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/20/2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/20/2018                   Tonia Wooten                                                     /s/ Tonia Wooten
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service for this
case.

       Lynda T. Bui (TR) trustee.bui@shbllp.com, C115@ecfcbis.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Everett L Green everett.l.green@usdoj.gov
       Rika Kido rkido@shbllp.com, ncarlson@shbllp.com
       Samuel Kornhauser skornhauser@earthlink.net
       Nancy L Lee bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
       Joshua Lichtman joshua.lichtman@nortonrosefulbright.com,
        Rhonda.cole@nortonrosefulbright.com
       Charity J Manee charity@rmbklaw.com
       William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
       Randall P Mroczynski randym@cookseylaw.com
       Ronak N Patel rpatel@rivco.org, dresparza@rivco.org;mdominguez@rivco.org
       Steven G. Polard spolard@ch-law.com, cborrayo@ch-law.com
       Kelly M Raftery bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
       Jason K Schrader jason.K.Schrader@usdoj.gov
       Anthony Sgherzi anthony.sgherzi@doj.ca.gov
       Leonard M Shulman lshulman@shbllp.com
       United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
       Scott S Weltman colcaecf@weltman.com
       Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
        evette.rodriguez@nortonrosefulbright.com
       Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
       Kristin A Zilberstein ecfnotifications@ghidottilaw.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
